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                 Exhibit 1
                 Civil Action No. 25-cv-0952 (CKK)
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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


LEAGUE OF UNITED LATIN
AMERICAN CITIZENS, et al.,

                     Plaintiffs,
                                              Civil Action No. 25-0946 (CKK)
      v.

EXECUTIVE OFFICE OF THE PRESIDENT,
et al.,

                     Defendants.


DEMOCRATIC NATIONAL
COMMITTEE, et al.,

                     Plaintiffs,
                                              Civil Action No. 25-cv-0952 (CKK)
      v.

DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,

                     Defendants.


LEAGUE OF WOMEN VOTERS
EDUCATION FUND, et al.,

                      Plaintiffs,
                                             Civil Action No. 25-0955 (CKK)
      v.

DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,

                      Defendants.


        DECLARATION OF HAKEEM S. JEFFRIES IN SUPPORT OF
 DEMOCRATIC PARTY PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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       I, Hakeem S. Jeffries, declare as follows:

       1.      I am over the age of 18, am competent to testify, and have personal knowledge of

the facts and information set forth in this declaration.

       2.      I am the U.S. House Representative from New York’s 8th Congressional District.

I am the Minority Leader of the House of Representatives and am the Leader of the House

Democratic Caucus.

       3.      I have been elected to the U.S. House of Representatives seven times. I am also a

candidate, up for reelection in 2026. I am a citizen of the United States, a resident of the State of

New York, and an individual voter in federal, state, and local elections.

       4.      As Leader of the House Democratic Caucus, I am responsible for helping elect

Democratic candidates to the U.S. House in races across the country. This responsibility is critical

to the success of the Caucus and to the mission of the Democratic Party as a whole. Given that the

Caucus’s ability to pass and influence legislation in the U.S. House depends on the size of its

membership, increasing the size of the Caucus by electing new Democratic Representatives and

reelecting incumbent Democratic Representatives is a large part of my responsibility as the Leader.

In my role, I provide direct support to Democratic House campaigns, often in highly competitive

battleground states, by helping to fundraise, speaking at campaign events, and engaging in other

important campaign work. I also work closely with DCCC to help develop strategies and marshal

resources to elect Democratic House candidates.

       5.      On March 25, 2025, President Trump issued Executive Order 14248, titled

Preserving and Protecting the Integrity of American Elections, which directs various federal

officers and the Election Assistance Commission to adopt election policies of the President’s

choosing. The President’s unprecedented Order, which claims authority that the U.S.




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Constitution’s Elections Clause expressly reserves for members of Congress, or for the states,

inflicts severe and immediate harm on Democratic House candidates and the Democratic Caucus,

and potentially impedes my ability to carry out my duties as Leader.

       6.      In particular, President Trump’s imposition of a national election day ballot receipt

deadline directly harms qualified voters—including members of the military, their families, and

countless others—who rely on voting by mail by requiring states to reject ballots not received by

election day, even where state law (including New York’s) provides a longer period for receipt.

       7.      Since the pandemic, Democrats have increasingly encouraged voters to vote by

mail, because that method is often the most convenient or accessible way for voters to participate.

As a result, in many states, a greater share of voters who vote by mail are Democrats, including in

New York State and New York City. The Executive Order’s effort to unilaterally impose a

nationwide election-day ballot receipt deadline—which would result in throwing out mail ballots

received after election day regardless of the reason for the delay—appears to be designed to benefit

the President’s own party at Democrats’ expense. The Order would have a devastating impact on

Democratic voters and would severely threaten Democratic voters’ fundamental right to vote.

       8.      The Order stands to create confusion among voters: will their ballot count if they

follow state law, or will they be disenfranchised if their ballot is not received by election day

because of the Order? When there is chaos and confusion, voters are disenfranchised. And in my

experience, when voters are unfairly disenfranchised, they lose faith in our election system.

       9.      It will be very difficult to ensure that all voters are aware of a new election day

receipt rule, especially in states that have universal vote by mail programs. Many states have

expanded access to mail voting in recent years, like my home state of New York. In many states,

huge portions of the electorate vote by mail. As of last year, for example, every voter in New York




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who is registered to vote is now eligible to vote by mail pursuant to the Early Mail Voter Act, a

2023 landmark pro-voter law in my state. It has been reported that in the 2024 general election,

nearly 700,000 New Yorkers cast ballots by mail. It will take an enormous and resource-intensive

effort to educate voters about the election day receipt deadline.

       10.     Even when voters place their ballots in the mail well before election day, those

ballots often arrive after election day for reasons almost entirely outside the voter’s control. I am

aware of significant and ongoing Postal Service delays at processing facilities throughout the

country, as well as frequent delays at Postal Service facilities in my own district. In recent

elections, I have been forced to call attention to operational shortcomings, such as insufficient mail

sorting machines and staffing shortages, all of which threaten the timeliness of mail ballots.

Unfortunately, I fear changes at the Postal Service will only worsen these issues. When these

delays occur, mail ballots can take several additional days—sometimes even weeks—to be

delivered. States like New York have enacted laws to mitigate the effects of these issues by

counting ballots that are cast by the voter so long as the ballot is postmarked on or before election

day. The Executive Order, however, would effectively override New York law and result in

disenfranchisement of voters who otherwise comply with New York law.

       11.     In states like New York that have previously counted ballots that are postmarked

by but arrive after election day, the election day ballot receipt deadline also means that voters have

less time to make their final choices on which candidates to support compared to voters who cast

their ballots in person. Consequently, the Party’s candidates will have less time to persuade and

mobilize mail voters.

       12.     In many places, including my own District, Republican voters do not rely as heavily

on mail voting as much as Democrats do now, so Republicans may by design gain an electoral




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advantage if tens of thousands of mail ballots that skew Democratic will be invalidated and not

counted every election cycle. Some House races are decided on small margins (tens or hundreds

of ballots), and every improperly invalidated ballot matters.

       13.     The Executive Order also contains provisions directing the Election Assistance

Commission to add a documentary proof of citizenship requirement to the federal voter registration

form required by the National Voter Registration Act (NVRA)—often called the “Federal

Form”—before such voters can register and vote. The Order further mandates additional

citizenship checks of prospective voters who receive public assistance (and only those voters)

before they can even receive a registration form, and also seeks to pressure states into imposing

their own burdensome proof of citizenship requirements.

       14.     To be clear, existing law already makes it illegal for foreign nationals to register

and vote in our elections, and our existing law prevents non-citizens from voting. The

implementation of these burdensome provisions will make it extremely difficult for qualified U.S.

citizens to vote, and furthers harms Democratic House candidates, making it harder for me to

perform my duties as Leader. Millions of U.S. citizens, including many in my own district, lack a

passport or the ability to easily obtain one. I also understand that women have had difficulty

proving their citizenship because their married name may not match their name on their citizenship

documents. These voters will not be able to register to vote or may be dissuaded from voting

because of the President’s Order. Given that these groups of voters make up large portions of the

constituency of the Democratic House Caucus, the imposition of overly burdensome requirements

inflict significant harm on our constituency, and further restructures the election system to the

benefit of the President’s party.

       15.     Finally, the Executive Order directs federal officers to grant unauthorized third




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parties, including DOGE, the ability to scrutinize federal databases containing the personal

information of millions of Americans—including information about me and other Democratic

Party voters. I value our country’s long-held commitment to protecting privacy and am extremely

concerned about the unauthorized disclosure of this information to DOGE. I also fear these

unauthorized disclosures will harm DCCC and our party’s voter registration efforts, as it will be

harder to convince voters who reasonably fear scrutiny of their private information by

unauthorized individuals to register to vote and participate in elections.

       16.     The Executive Order significantly undermines my ability to effectively carry out

my responsibilities as the Leader of the House Democratic Caucus. Nothing is more important

than ensuring that our voters and constituents are able to vote and have their vote counted. To

protect our voters’ right to vote, DCCC and Democratic campaigns throughout the country will

have to make monumental and unprecedented investments to ensure that voters (including those

in my district) are not disenfranchised as a result of the Order’s unprecedented top-down changes

to our elections.

       17.     By restructuring election rules in a manner that benefits Republicans and

significantly disadvantages Democrats, the Order harms the electoral prospects of Democratic

House candidates.

       18.     The unfairness, uncertainty, and confusion around the election rules imposed by the

Order will make it harder for me to effectively recruit strong candidates to run for office.

Candidates want to know that the rules of the road are clear, and they want to know that they have

a fair shot of winning if they invest their time and money in a race. It is difficult to convince

potential candidates to run for office as Democrats when the President has unfairly changed the

election rules in a way that tilts the playing field heavily in favor of Republicans.




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       19.     The Order also comes at a particular cost for me in my role as the Leader of the

House Democratic Caucus. It will mean that I will have less time to focus on the other critical

issues facing our country because I will have to spend more of my time and efforts pushing back

against voter suppression efforts connected to the executive order.

       20.     I declare under penalty of perjury that the foregoing is true and correct.


                                                            
                                              Executed on: _______________________________



                                                ________________________________________

                                                                              Hakeem S. Jeffries
                                                                      U.S. House Minority Leader




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